                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


U.S. Bank Trust, N.A., as Trustee for LSF9     2:19-cv-00149-LEW
Master Participation Trust

             Plaintiff

                    vs.                      RE:
                                             518 Walnut Hill Road f/k/a 519 Walnut Hill
                                             Road, Unit 2, North Yarmouth, ME 04097

Bryan G. Moore and Elaine G. Moore           Mortgage:
                                             May 12, 2005
                                             Book 22644, Page 156

             Defendants


                CONSENT JUDGMENT OF FORECLOSURE AND SALE

      Now comes the Plaintiff, U.S. Bank Trust, N.A., as Trustee for LSF9 Master
Participation Trust, and the Defendants, Bryan G. Moore and Elaine G. Moore, and
hereby submit this Consent Judgment of Foreclosure and Sale.

      Count II – Breach of Note, Count III – Breach of Contract, Money Had and
Received, Count IV – Quantum Meruit, and Count V – Unjust Enrichment, are hereby
DISMISSED without prejudice at the request of the Plaintiff. JUDGMENT on Count I
– Foreclosure, is hereby ENTERED as follows:

1.    If the Defendants or their heirs or assigns pay U.S. Bank Trust, N.A., as Trustee
      for LSF9 Master Participation Trust (“U.S. Bank”) the amount adjudged due and
      owing ($415,761.51) within 90 days of the date of the Judgment, as that time
      period is calculated in accordance with 14 M.R.S.A. § 6322, U.S. Bank shall
      forthwith discharge the Mortgage and file a dismissal of this action on the ECF
     Docket. The following is a breakdown of the amount due and owing:

     Description                                   Amount
     Unpaid Principal Balance                   $235,813.50
     Escrow Balance                               57,854.02
     Total Interest                              117,793.49
     Late Charges                                  4,994.91
     Less Unapplied Funds                           -694.41
     Grand Total                                $415,761.51


2.   If the Defendants or their heirs or assigns do not pay U.S. Bank the amount
     adjudged due and owing ($415,761.51) within 90 days of the Judgment, as that
     time period is calculated in accordance with 14 M.R.S.A. § 6322, their remaining
     rights to possession of the North Yarmouth Property shall terminate, U.S. Bank
     shall conduct a public sale of the North Yarmouth Property in accordance with 14
     M.R.S.A. § 6323, disbursing the proceeds first to itself in the amount of
     $415,761.51 after deducting the expenses of the sale, with any surplus to be
     disbursed pursuant to Paragraph 5 of this Judgment, and in accordance with 14
     M.R.S.A. § 6324.

3.   Pursuant to 14 M.R.S.A. § 2401(3)(F), the Clerk shall sign a certification after the
     appeal period has expired, certifying that the applicable period has expired without
     action or that the final judgment has been entered following appeal.

4.   The amount due and owing is $415,761.51.

5.   The priority of interests is as follows:

     a.)    U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust has
            first priority, in the amount of $415,761.51, pursuant to the subject Note
            and Mortgage.

     b.)    Bryan G. Moore and Elaine G. Moore have the second priority behind the
            Plaintiff.
7.   The prejudgment interest rate is 5.50000%, see 14 M.R.S.A. § 1602-B, and the
     post-judgment interest rate is 8.59%, see 14 M.R.S.A. § 1602-C.

8.   The following information is included in this Judgment pursuant to 14 M.R.S.A. §
     2401(3):

           PARTIES                       COUNSEL
           U.S. Bank Trust, N.A., as     John A. Doonan, Esq.
           Trustee for LSF9 Master       Reneau J. Longoria, Esq.
           Participation Trust           Doonan, Graves & Longoria,
                                         LLC
                                         100 Cummings Center
                                         Suite 225D
                                         Beverly, MA 01915


           Bryan G. Moore                Pro Se
           152 Park Lane
           Vassalboro, ME 04989

           Elaine G. Moore               Pro Se
           258 Bruce Hill Road
           Cumberland Center, ME
           04021

     a)    The docket number of this case is No. 2:19-cv-00149-LEW.

     b)    All parties to these proceedings received notice of the proceedings in
           accordance with the applicable provisions of the Federal Rules of Civil
           Procedure.

     c)    A description of the real estate involved, 518 Walnut Hill Road f/k/a 519
           Walnut Hill Road, Unit 2, North Yarmouth, ME 04097, is set forth in
           Exhibit A to the Judgment herein.

     d)    The street address of the real estate involved is 518 Walnut Hill Road f/k/a
           519 Walnut Hill Road, Unit 2, North Yarmouth, ME 04097. The Mortgage
           was executed by the Defendants on May 12, 2005. The book and page
            number of the Mortgage in the Cumberland County Registry of Deeds is
            Book 22644, Page 156.

      e)    This judgment shall not create any personal liability on the part of the
            Defendants but shall act solely as an in rem judgment against the property,
            518 Walnut Hill Road f/k/a 519 Walnut Hill Road, Unit 2, North Yarmouth,
            ME 04097.

Dated: August 22, 2019                      /s/Reneau J. Longoria, Esq.
                                            John A. Doonan, Esq., Bar No. 3250
                                            Reneau J. Longoria, Esq., Bar No. 5746
                                            Attorneys for Plaintiff
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Dated: September 16, 2019
                                            /s/Bryan G. Moore
                                            Bryan G. Moore
                                            152 Park Lane
                                            Vassaboro, ME 04989


Dated: May 25, 2019
                                            /s/ Elaine G. Moore __
                                            Elaine G. Moore
                                            258 Bruce Hill Road
                                            Cumberland Center, ME 04021

      SO ORDERED.

      Dated this 18th day of September, 2019.


                                               /S/ Lance E. Walker
                                               U.S. DISTRICT JUDGE
